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                                     EXHIBIT 6

          2/16/2024 Plaintiff’s Brief in Opposition to Motion to Intervene by Lloyd’s
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                  UNITED STATES DISTRICT COURT FOR
                     THE DISTRICT OF NEW JERSEY

  TYSHON EDWARDS,
                                               Civ. A. No. 20-13552- DEA
              Plaintiff,

  v.
                                               Motion Date: March 4, 2024
  CITY OF TRENTON,

              Defendant.


        Plaintiff’s Brief in Opposition to Motion to Intervene By Certain
                        Underwriters of Lloyd’s of London




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 I.    Introduction

       The Motion to Intervene filed by Certain Underwriters of Lloyd’s of London

 (“Underwriters”), Dkts. 67–68, should be denied.

       Underwriters move to intervene as of right under Rule 24(a)(2) of the Federal

 Rules of Civil Procedure. Underwriter Br. at 2–3. They do not seek to intervene

 under Rule 24(a)(1) or Rule 24(b) regarding permissive intervention.

       To intervene as of right under Rule 24(a)(2), Underwriters must satisfy all

 four of the following elements: “(1) the application for intervention is timely; (2) the

 applicant has a sufficient interest in the litigation; (3) the interest may be affected or

 impaired, as a practical matter by the disposition of the action; and (4) the interest is

 not adequately represented by an existing party in the litigation.” Harris v. Pernsley,

 820 F.2d 592, 596 (3d Cir. 1987).

       Underwriters’ Motion fails to meet this standard. At most, it identifies a

 contingent interest that is insufficient to support intervention. Case law throughout

 the country, including this Court, expressly holds that an insurer that does not

 concede coverage and issues a reservation of rights (as Underwriters have done here)

 has only a contingent interest in a liability case against its insured that is insufficient

 to support intervention under Rule 24(a)(2). See infra, at 3–5. Further, under clear

 case law, this analysis does not change when an insured negotiates a consent

 judgment that limits the ability of the injured party to execute against the insured
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 and provides an assignment of rights to the injured party to execute against the

 insurer. See infra, at 5–7. As Underwriters are adamant that they reserve their rights

 to deny coverage, they have no basis to intervene. Nor will any interest Underwriters

 have be impaired under Rule 24(a)(2) as Underwriters may litigate their positions in

 a separate coverage action.

       Underwriters’ Motion should also be denied for the separate reason that the

 request to intervene is exceedingly untimely and prejudicial to the parties.

 Underwriters’ Motion was filed nearly 3.5 years into the litigation, seeks to litigate

 new issues of coverage and relitigate issues of liability that the parties have

 compromised after great expenditure of resources and time with the substantial

 assistance of the Court, and has unduly delayed seeking to protect its supposed

 interests regarding an exposure about which it has known for years.

       For these and other deficiencies identified below, Plaintiff respectfully

 submits that Underwriters’ Motion to Intervene should be denied.

 II.   Background

       Plaintiff respectfully incorporates the recitation of facts in Plaintiff’s Motion

 for Approval of Settlement Agreement and Entry of Consent Judgment. See Dkt. 62.

 Additional facts responsive to Underwriters’ Motion to Intervene are referenced in

 the Argument section below.




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 III.   Argument

        A.    Underwriters’ Interests in this Liability Action are Only
              Contingent, and Such Interests are Not Impaired as
              Underwriters May Litigate Their Positions in a Separate
              Coverage Action.

        Underwriters appear to offer two interests supposedly supporting

 intervention: (i) that it may later have a duty to indemnify any consent judgment

 reached by Trenton; and (ii) that it would prefer to litigate its position that there is

 no coverage under the Policy. Underwriters Br. at 5–7.

        Underwriters’ Motion ignores the legion of caselaw holding that where an

 insurer contests coverage potentially owed to an insured (whether by a reservation

 of rights or otherwise), the insurer’s interest in the liability phase of a case is too

 contingent and remote to support intervention. See, e.g., Travelers Indem. Co. v.

 Dingwell, 884 F.2d 629, 632–33, 639–40 (1st Cir. 1989) (affirming denial of

 insurers’ motion to intervene to oppose entry of consent judgment between the

 insured and plaintiffs where insurers had issued reservations of rights); Castracane-

 Sedlac v. Mason, No. CV 20-6080-KMW, 2021 WL 4710513, at *3 (D.N.J. Oct. 8,

 2021) (citing Dingwell approvingly and denying insurer motion to intervene where

 insurer reserved rights); CPL (Linwood), LLC v. Rossetti Roofing, Inc., No. CV 09-

 6228-RMB-KMW, 2010 WL 11570374, at *2 (D.N.J. July 28, 2010) (same);




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 Deskevich v. Spirit Fabs, Inc., No. 4:20-CV-01387, 2021 WL 880429, at *2 (M.D.

 Pa. Mar. 9, 2021) (same). 1

       This law “reflect[s] the well-established policy that an insurer who reserves

 the right to deny coverage cannot control the defense of a lawsuit brought against its

 insured by an injured party.” Dingwell, 884 F.2d at 639 (citing Cay Divers, Inc. v.

 Raven, 812 F.2d 866, 870 (3d Cir. 1987) (holding that Lloyds’ decision to

 “reserve[e] the right to contest coverage . . . renounced control of the litigation and

 thereby thrust the responsibility for the litigation wholly upon the insured and its

 counsel”)).

       Here, Underwriters’ Motion concedes that it delivered a reservation of rights

 letter to Trenton and that it still reserves its rights to deny coverage. Underwriters’

 Br. at 6 (“Underwriters did not deny coverage but rather reserved its rights to deny




 1
        Liberty Mut. Ins. Co. v. Treesdale, Inc., 419 F.3d 216 (3d Cir. 2005) (cited but
 not discussed in Underwriters’ Brief at 3 & 5) affirmed the denial of intervention to
 injured parties that sought to intervene in a coverage dispute between the insured
 and insurer while the injured parties simultaneously litigated the tort action. Cnty.
 Hall Ins. Co., Inc. v. Mountain View Transportation, LLC, No. 22-2397, 2023 WL
 4044605, at *2 (3d Cir. June 16, 2023) (cited in Underwriters’ Brief at 8) similarly
 does not support intervention and the conflation of liability and coverage actions. In
 County Hall Insurance, the Third Circuit vacated a district court’s denial of an
 injured plaintiff’s motion to intervene in a coverage action because, while the appeal
 was pending, the separate tort action versus the insureds was resolved, and the
 plaintiff obtained a judgment against the insureds and an assignment of rights to
 pursue the carrier.
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 coverage under certain provisions of the Policy”). 2 Moreover, Underwriters

 disclaims and does not assert any duty or right to defend the action; instead, they

 repeatedly state any duty they have is solely to indemnify. Id.

       The fact that an insured that has received a reservation of rights (or outright

 denial of coverage) from its insurer seeks to settle a liability action pursuant to a

 consent judgment that may be recoverable in whole or in part only against a non-

 party insurer does not suddenly solidify an insurer’s contingent interest into one that

 supports intervention. As Dingwell explains:

              The manner in which the lawsuit between the insured and the
              injured party is resolved does not affect the preceding analysis.
              The insurers’ interest remains contingent regardless of the fact
              that the settlement agreement provided that the resulting
              judgment could not be enforced against [defendant] personally.
              The alleged collusiveness of the settlement agreement may well
              be relevant in deciding whether the insured has breached its
              obligations under the policy or in deciding whether the consent
              judgment is binding on the insurer, but those substantive issues
              of insurance law are not before us today. The proper place to raise
              them, it seems to us, is during an action to determine whether the
              claim is covered by the policy or during an action to enforce the
              consent judgment against the insurer.



 2
        This statement brings Underwriters’ candor into question. Despite asserting
 to the Court now that it “did not deny coverage,” Underwriters expressly stated to
 Trenton’s counsel on April 18, 2023: “As set forth in Underwriters’ January 13, 2023
 coverage position letter, Underwriters do not believe coverage exists for this matter.”
 Dkt. 70, 2/16/2024 Certification of J. Brooks DiDonato (“DiDonato Cert.”), Ex. B.
 Regardless, Underwriters’ motion unmistakably asserts that it reserved rights, and
 therefore, squarely renders its interest in this matter as contingent and insufficient to
 support intervention.
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  Dingwell, 884 F.2d at 639–40.

        Similarly, in a case of very similar procedural posture, the Seventh Circuit

  Court of Appeals expressly rejected an insurance carrier’s argument that it should

  have been permitted to intervene. CE Design Ltd. v. King Supply Co., 791 F.3d 722

  (7th Cir. 2015) (Posner, J.). In CE Design, the insurers sought to intervene after the

  plaintiffs and insured signed a settlement agreement but before the district court

  approved it. Id. at 724. The settlement was for $20,000,000.00 of which only 1%

  could be executed against the insured, with the remainder subject to an assignment

  of claims against the insurers. Id. The Court held that the motion to intervene was

  untimely (as discussed more infra) and, even if it had been timely, the interest

  presented was contingent. Elaborating on this “alternative but more important

  holding,” Judge Hamilton stated in concurrence:

               The premise of these insurers’ motion to intervene, whether
               timely or not, is that insurers who might later be found to have
               breached their coverage contract need to intervene to protect
               themselves from a settlement they might be required to pay
               without having participated in the deal. The insurers say they are
               either entitled or should be permitted to join the underlying tort
               suit to try to derail a settlement that their insured has reached to
               try to save it from the worst consequences of the insurers’ breach.

               The district court here correctly rejected that premise. Insurers
               gain an interest in an underlying tort suit—and require protection
               from a settlement in that case—if and only if they lose the
               coverage issue (typically in a separate suit) and are therefore on
               the hook to indemnify the insured.

  Id. at 727–28 (Hamilton, J., concurring).
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        Underwriters’ second and third supposed interests are the same: they seek to

  derail this litigation by litigating its coverage positions within this case.

  Underwriters’ Br. at 6–7. Underwriters argue that they have an interest in “avoiding

  further litigation in the nature of an anticipated bad faith claim under the Policy” and

  because the settlement supposedly “seeks to bypass Underwriters and deprive it of

  its rights under the Policy to evaluate and, if necessary, dispute whether there is

  coverage for the City’s alleged loss or seek declaratory judgment regarding its

  obligations under the Policy.” Id.

        In rejecting the same arguments in Dingwell, the First Circuit held, “The

  problem with the . . . potential interest—that there is no coverage or that whatever

  coverage exists has been waived—is that it is not related to the subject matter of the

  action between the [insured] and the [plaintiffs]. This lawsuit involves the

  apportionment of tort liability, not the respective rights and obligations of an insured

  and his insurers under their insurance policy.” Dingwell, 884 F.2d at 640.

        Likewise, this action involves Plaintiff’s claims of liability against the City of

  Trenton, not coverage obligations between Underwriters and Trenton. Underwriters

  are free to litigate such coverage positions in separate litigation and there is no

  dispute that they have an adequate forum to do so in the state and/or federal courts

  of New Jersey. But, just as this Court has expressly rejected other attempts by

  insurers to airdrop declaratory judgment coverage disputes into the middle of the


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  action regarding the insured’s liability, the Court should reject Underwriters’ attempt

  to do so here. E.g., Castracane-Sedlac, 2021 WL 4710513, at *3 (“UFCC does not

  argue that it will be unable to resolve the coverage issues in a separate declaratory

  judgment action so it cannot argue that any alleged interest would be impaired by

  disposition of this action.”); CPL (Linwood), LLC, 2010 WL 11570374, at *2

  (same); 3 see also Deskevich, 2021 WL 880429, at *3 (rejecting an insurer’s attempt

  to “intervene solely to show why it should be removed from the case” and stating it

  “would serve only to distract from the primary issues at hand,” especially where “an

  adequate forum” exists for the insurer “to pursue its coverage dispute”).

        B.     Underwriters’ Motion to Intervene is Untimely.

        Even if Underwriters’ alleged interests supported intervention (which they do

  not), Underwriters’ Motion is untimely. “The timeliness of a motion to intervene is

  ‘determined from all the circumstances’ and, in the first instance, ‘by the [trial] court

  in the exercise of its sound discretion.’ We must affirm a denial of intervention based

  on lack of timeliness unless we find an abuse of discretion.” In re Fine Paper

  Antitrust Litig., 695 F.2d 494, 500 (3d Cir. 1982) (citations omitted). The Third


  3
        Underwriters’ argument that the Settlement Agreement and Consent
  Judgment impair Underwriters’ rights and arguments regarding coverage is
  unsupported in its Motion and unsupportable in fact. Nothing in the Settlement
  Agreement or Consent Judgment purports to waive any rights for Underwriters.
  Indeed, Plaintiff’s Motion for Approval specifically states, “To be clear, Plaintiff
  does not request the Court’s determination of whether Underwriters wrongfully
  denied coverage to Trenton.” Mot. for Approval, at 8.
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  Circuit has identified at least “three factors to aid evaluation of the timeliness issue—

  ‘(1) How far the proceedings have gone when the movant seeks to intervene, (2)

  [the] prejudice which resultant delay might cause to other parties, and (3) the reason

  for the delay.’” Id. (citations omitted).

        This action started in September 2020. See Dkt. 1. After approximately 3.5

  years, the only parties to the litigation, with significant aid by the Court, have

  compromised to execute a settlement agreement and proposed stipulated judgment

  regarding liability. If the Court grants the Motion for Approval, this action stands to

  conclude in a matter of days. Underwriters seek to intervene to undo the parties’ and

  the Court’s extensive efforts so Underwriters may litigate issues of liability,

  including apparently to litigate that Trenton engaged in intentional and fraudulent

  conduct that supposedly would enable the Underwriters to justify a denial of

  coverage. See Dkt. 68-1 (Underwriters’ reservation of rights letter identifying

  purported coverage issues).4 The parties are clearly prejudiced by a sudden proposed

  extension of this litigation to litigate new coverage issues (which may be litigated in

  a separate coverage action regardless) and relitigate issues of liability, which have

  been litigated for nearly 3.5 years.



  4
         If Underwriters were to succeed in demonstrating that Trenton engaged in
  intentional and fraudulent conduct, that would increase the chances of an even
  higher judgment. Such a position appears to be in direct conflict with and prejudicial
  to Underwriters’ insured, Trenton.
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        As CE Design holds, if Underwriters truly thought it had a protectable interest

  in this litigation, “[T]hey should have moved to intervene at the outset of the

  litigation, not nearly three years later, when the settlement had been negotiated and

  was about to be presented to the district court for approval. At that late stage the only

  object of the intervention could be to block the settlement and put the . . . suit back

  to where it had been [three years ago]. So gratuitous an extension of a multi-year

  litigation should not be encouraged.” CE Design Ltd., 791 F.3d at 726 (emphasis

  added); see also Deskevich, 2021 WL 880429, at *3 (“It seems to the Court that

  permitting West Bend to intervene solely to show why it should be removed from

  the case would serve only to distract from the primary issues at hand.”)

        Underwriters’ argument that whatever reason they had to seek to intervene

  only ripened when they were served with Plaintiff’s Motion for Approval is without

  merit. As an initial matter, Underwriters has always been able to conduct its own

  exposure analysis of the litigation. Indeed, Underwriters’ first reservation of rights

  letter of September 30, 2020 (issued the day after the Complaint was filed),

  specifically noted Plaintiff’s notice of tort claim identifying damages as in excess of

  $20,000,000.00. See DiDonato Cert., Ex. A.

        Further, Underwriters has long been aware that, during the course of litigation,

  any settlement or adverse verdict would implicate Underwriters’ liability under the




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  Policy. 5 For example, on July 13, 2023, counsel for Underwriters, Mr. Koury,

  participated in a settlement conference conducted by the Court, which was initially

  delayed at his request. While Underwriters offered no assistance toward settlement

  at the conference, Underwriters were on notice that any resolution of this action

  would implicate the Policy. Underwriters did not seek to intervene.

        On August 17, 2023, Plaintiff communicated a written demand directly to

  Underwriters to settle within the Policy limits at $2,800,000.00 and such demand

  was capable of immediate acceptance. Plaintiff renewed the demand on September

  22, 2023, when counsel for Underwriters claimed he never received the first letter. 6

  Underwriters never accepted the offer (or even counteroffered). Again, Underwriters

  did not intervene. Underwriters’ Motion ignores these facts, although the time-


  5
         Underwriters’ argument that it only ever considered its liability implicated by
  a resolution above $1 million misapprehends its own Policy. The first $500,000.00
  paid by Defendants in defense costs and/or a judgment fully erodes the Self Insured
  Retention. The other $500,000.00 that Underwriters argue is Trenton’s
  responsibility (which is disputed) is a Corridor Deductible. Under New Jersey law,
  as a deductible, Underwriters “has the liability and defense risk from the beginning”
  of that level. IMO Indus. Inc. v. Transamerica Corp., 437 N.J. Super. 577, 622, 101
  A.3d 1085, 1111 (App. Div. 2014) (“A SIR differs from a deductible in that a SIR
  is an amount that an insured retains and covers before insurance coverage begins to
  apply. . . . In contrast, a deductible is an amount that an insurer subtracts from a
  policy amount, reducing the amount of insurance. With a deductible, the insurer has
  the liability and defense risk from the beginning and then deducts the deductible
  amount from the insured coverage.”).
  6
         Rejection of a time-limited demand within Policy limits may expand a
  recalcitrant carrier’s potential liability to the portions of a subsequent judgment in
  excess of such limits. In any coverage litigation, Underwriters, of course, will have
  the right to argue its liability is limited to its Policy limits.
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  limited demand letters are noted in the Motion for Approval and the Settlement

  Agreement.

        Further, on December 5, 2023, Mr. DiDonato specifically informed Mr.

  Koury of Trenton’s intention to settle the action in a manner that would exhaust the

  Self Insured Retention and involve liability to Underwriters under the Policy:

               Certain Underwriters at Lloyd’s of London (“Underwriters”) that
               subscribe to Policy No. PK1021618 (the “Policy”), issued to the
               City of Trenton, NJ (the “City”), has denied coverage to the City
               regarding the above-referenced litigation, including refusing to
               defend or indemnify the City. At other times, Underwriters has
               purported to reserve all rights and defenses under said policy. At
               no[] time has it ever offered to provide the coverage owed under
               that Policy.

               In light of same, the City has no obligation to inform
               Underwriters regarding the status of the matter. Nevertheless,
               this letter is to inform you that the City intends to settle the
               litigation with Plaintiff and that the Ultimate Net Loss resulting
               from the settlement will exhaust the Self Insured Retention and
               will involve liability to Underwriters under the Policy and for
               Underwriters’ bad faith denial of coverage.

               If Underwriters wishes to finally participate in the settlement at
               this time, I encourage you to immediately contact Plaintiff’s
               counsel,      Mr.     John        Stapleton,       directly     at
               jstapleton@levanstapleton.com and (856) 272-3603.      7




  DiDonato Cert., Ex. F. Mr. Koury did not respond to Mr. DiDonato, and

  Underwriters did not seek to intervene. Id. The Underwriters’ Motion ignores this


  7
       The undersigned, John Stapleton, certifies that he was not contacted by Mr.
  Koury on December 5, 2023, or anytime thereafter.
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  fact, although it too is identified in the Motion for Approval and the Settlement

  Agreement. 8

           Underwriters’ Motion obliquely refers to a communication from Mr. Koury

  to Mr. DiDonato in January 2024 stating that Mr. Koury wanted to discuss coverage

  issues, as if this were the first instance Underwriters considered the possibility that

  its insured might assign rights to Plaintiff. Underwriters’ Br. at 1. Underwriters do

  not attach the communications, or any affidavit or declaration. What Underwriters

  do not tell the Court is that Mr. Koury contacted Mr. DiDonato by email on January

  9, 2024. Mr. DiDonato responded that same day, and among other things,

  specifically informed Mr. Koury “to feel free to call.” DiDonato Cert., Ex. E. Mr.

  Koury did not call Mr. DiDonato. See Dkt. 70 at 4.

           In sum, even if Underwriters had a protectable interest in this liability action,

  Underwriters’ Motion is exceptionally untimely as it was not filed until nearly 3.5

  years into the litigation, seeks to litigate new issues of coverage and relitigate issues

  of liability that the parties have compromised after great expenditure of resources

  and time with the substantial assistance of the Court, and has unduly delayed seeking

  to protect its supposed interests regarding an exposure about which it has known for

  years.


  8
        Well before December 5, 2023, Mr. DiDonato also informed Mr. Koury of
  the possibility that Trenton might explore a settlement with Plaintiff that would
  include an assignment of rights. DiDonato Cert., Ex. D.
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        C.     Underwriters’ Motion Fails to Comply With Rule 24(c).

        Under Rule 24(c) of the Federal Rules of Civil Procedure, “The motion [to

  intervene] must state the grounds for intervention and be accompanied by a pleading

  that sets out the claim or defense for which intervention is sought.” Fed. R. Civ. P.

  24(c); see also Local Civ. Rule 7.1(f)(1).

        Underwriters’ Motion attaches no such pleading.

        D.     Underwriters Had Yet Another Opportunity to Provide
               Coverage, But Did Not.

        Plaintiff served the Motion for Approval upon non-party Underwriters, but

  that by no means justifies Underwriters’ intervention. First, as acknowledged in

  Dingwell, where an insurer “admits that the claim is covered by the policy in

  question,” its interest will no longer be too contingent and intervention may be

  justified. 9 But, here, Underwriters is on full notice of the Settlement Agreement and

  Consent Judgment, and it still declined to concede coverage. Second, Underwriters’

  counsel has claimed at times that he has not received communications sent to him.

  Service of the Motion for Approval by certified mail dispels any subsequent




  9
         “There can be no dispute that an insurer has a direct interest in a lawsuit
  brought by an injured party against its insured when the insurer admits that the claim
  is covered by the policy in question. When the insurer offers to defend the insured
  but reserves the right to deny coverage, however, the insurer's interest in the liability
  phase of the proceeding is contingent on the resolution of the coverage issue.” Id. at
  638 (emphasis added).
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  argument by Underwriters that it had no prior notice of the Settlement Agreement or

  Consent Judgment before they became effective. 10

        E.     Nothing in Underwriters’ Motion Counters the
               Reasonableness and Good Faith of the Settlement Agreement
               and Consent Judgment.

        As a final matter, Plaintiff addresses certain implications of Underwriters’

  Motion that the proposed Settlement Agreement and Consent Judgment is

  unreasonable or lacking in good faith between the parties that executed it.

        First, despite impliedly calling into question the proposed resolution reached

  by the parties with substantial assistance by the Court after nearly 3.5 years of

  litigation, Underwriters’ Motion conspicuously offers no proposed resolution or

  value of the matter for the Court’s consideration.

        Second, Underwriters’ Motion seeks to argue that it has the right to deny

  coverage on the grounds of certain Policy exclusions, such as intentional and

  fraudulent conduct. E.g., Underwriter Br. at 6–7 & Ex. A at 3–5. However, the

  presence of such conduct would only increase the damages exposure for tort

  liability. By way of example only, if, as they propose to do, Underwriters intervened

  in this action, blocked the Settlement Agreement and Consent Judgment, and then



  10
         Underwriters misstate the effect of provisions in the Policy regarding any
  rights to consent to settlements or the assignment of rights by the insured.
  Regardless, Underwriters will have the ability to argue its interpretations of such
  Policy terms in any coverage action.
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  demonstrated to a jury that Defendant engaged in intentional or fraudulent conduct

  to the point that Policy exclusions applied, a jury could then very well award Plaintiff

  not just $5,000,000.00 (or more) in compensatory damages, but also punitive

  damages that multiply upon that sum. This argument by Underwriters does not

  undercut—it reinforces—the reasonableness of the proposed Settlement Agreement

  and Consent Judgment.

        Third, while Plaintiff refutes Underwriters’ Motion’s unsworn, unsupported,

  incomplete, and misleading statements of prior settlement discussions, the fact is

  that even the firmest of offers are extinguished when they are rejected. Facts and

  circumstances change, assessments are updated. The Court, Plaintiff, and Trenton

  all invited Underwriters’ participation in settlement discussions, with Trenton

  essentially begging for Underwriters to contribute in any form while expressly

  emphasizing the peril in which failure to settle would put both Trenton and

  Underwriters. Underwriters are clear now, as they have been clear before, they have

  zero interest in participating in a settlement. Underwriters were free to reject any and

  all attempts to compromise, but to claim Plaintiff is thereafter limited in recovery by

  prior attempts to compromise is not credible.

        Fourth, the Settlement Agreement and Consent Judgment is a true

  compromise. Plaintiff initially sought Trenton’s consent to a higher judgment of




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  $9,500,000.00 million. 11 After negotiating, Plaintiff and Trenton agreed upon

  $5,000,000.00 as a fair valuation. Plaintiff and Trenton both accepted the terms as a

  compromise and as the best each could obtain from the other to resolve this liability

  case at this juncture. 12

  IV.    Conclusion

         For foregoing reasons, Plaintiff respectfully submits that the Court should

  deny Underwriters’ Motion to Intervene.

                                               Respectfully submitted,

                                               LeVAN STAPLETON SEGAL
                                               COCHRAN LLC
  February 16, 2024
                                               By: /s/ John S. Stapleton
                                                  John S. Stapleton, ID 032622005


  11
          As shown in the analysis previously provided to the Court, all parties, and
  Underwriters, a $9.5 million consent judgment would have been 52% of the per-day-
  incarcerated rate paid by Trenton’s neighbor, Hamilton Township, in a settlement in
  2020. $5.0 million is just 27% of the rate Hamilton paid. When adjusting for the
  substantial inflation the United States has experienced since 2020 (approximately
  19%), the percentage drops even lower.
  12
          Underwriters misconstrues the Settlement Agreement. For example, they
  argue the Settlement Agreement “attempts to compel Underwriters to waive the
  Corridor Deductible.” Underwriters Mot. at 6. Far from it, the Settlement Agreement
  notes that if Plaintiff fails to demonstrate that the Corridor Deductible is inapplicable
  or unenforceable then Plaintiff’s ability to recover on the Consent Judgment
  automatically is limited by an additional $500,000.00, thus still operating as a
  deductible under New Jersey law. E.g., IMO Indus. Inc., 101 A.3d at 1111 (“With a
  deductible, the insurer has the liability and defense risk from the beginning and then
  deducts the deductible amount from the insured coverage”). Regardless, if
  Underwriters still think there is an issue with this provision, they are free to litigate
  it in a separate coverage action.
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                                 Certificate of Service
        I, John S. Stapleton, certify that on this date, I caused the foregoing document

  be served upon all counsel of record through the Court’s ECF system. In addition, I

  caused a copy of the foregoing document to be served upon the following by

  electronic mail:


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  February 16, 2024                             John S. Stapleton
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